                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           CASE NUMBER 1:18-CV-932

    COVIL CORPORATION, by its Duly
    Appointed Receiver, PETER D.
    PROTOPAPAS,

                                         Plaintiff,
                                                           JOINT STIPULATION
                         v.                           OF DISMISSAL WITH PREJUDICE

    UNITED STATES FIDELITY AND
    GUARANTY COMPANY,

                                       Defendant.


       Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, Plaintiff Covil

Corporation (“Covil”) and Defendant United States Fidelity and Guaranty Company

(“USF&G”), by and through the undersigned counsel, hereby stipulate that Covil dismisses with

prejudice its claims for relief against USF&G in the above-captioned action (such claims having

initially been denominated as Crossclaims), and that USF&G dismisses with prejudice its

remaining outstanding claim for relief against Covil and Ann Finch, as Executrix of the Estate of

Franklin Delanor Finch (initially denominated as Count I of its Crossclaims).1




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        On August 4, 2020, the Court ruled in favor of USF&G on Count II of its crossclaims
(ECF No. 334) and dismissed without prejudice the declaratory relief sought in Counts III and IV
to the extent unrelated to the underlying Finch action. That left only Count I as the remaining
claim against Covil or Ann Finch that has yet to be adjudicated or otherwise dismissed. Justice
Toal approved of the parties’ settlement agreement in Finch on August 27, 2021 and that order is
now final given the absence of any appeals or objections. Accordingly, all other claims that the
parties do not seek to have dismissed with prejudice, in particular those claims not arising from
or relating to plaintiffs in the underlying Finch action or USF&G’s conduct in handling the
underlying Finch action, remain dismissed without prejudice.




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  This 11th day of October, 2021.

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                            CERTIFICATE OF SERVICE

      I hereby certify that on October 11, 2021, I electronically filed the foregoing Joint

Stipulation of Dismissal with Prejudice using the ECF system, and notification of such

filing (which constitutes service of this document) will be sent electronically by the ECF

system to counsel of record in this case who have registered with that system.

      This 11th day of October, 2021.

                                           /s/ Brady Edwards
                                           Brady Edwards




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